Case 1:04-cv-07280-GBD-SN Document 535-13 Filed 04/01/19 Page 1 of 2




         Exhibit 13
          Case 1:04-cv-07280-GBD-SN Document 535-13 Filed 04/01/19 Page 2 of 2



                                                                               233 BROADWAY, SUITE 801
                                                                               WOOLWORTH BUILDING
        LAW FIRM OF                                                            NEW YORK, NY 10279
OMAR T. MOHAMMEDI, LLC                                                         PHONE (212) 725-3846
                                                                               FACSIMILE (212) 202-7621
                                                                               WWW.OTMLAW.COM
OMAR T. MOHAMMEDI, ESQ.
PHONE: (212) 725-3846
EMAIL: OMOHAMMEDI@OTMLAW.COM

ADMITTED: NEW YORK, EIGHT CIRCUIT
SECOND CIRCUIT, ALGERIAN BAR
US COURT ON INTERNATIONAL TRADE


                                                            December 2, 2011

         VIA REGULAR AND ELECTRONIC MAIL
         His Excellency Adel A. Al-Jubeir
         Ambassador to the Royal Embassy of Saudi Arabia
         C/O Nancy Dutton, Esq.
         5017 Tilden Street NW
         Washington, DC 20016

                Re: In re Terrorist Attacks of September 11, 2001, 03 MDL 1570

         Your Excellency:

                 We represent the World Assembly of Muslim Youth (“WAMY”) in the
         above-captioned matter. As you may know WAMY is a defendant in this multi-
         district litigation. Plaintiffs are asking WAMY to produce all financial records
         from the Saudi banks, including but not limited to WAMY’s financial
         transactions through it accounts held in various banks between 1992 and 2002.
         We write to seek the Kingdom of Saudi Arabia’s assistance in obtaining these
         documents from the banks located in Saudi Arabia

                We recently returned from a trip to Saudi Arabia during which we met
         with our clients to obtain their financial records for production in this litigation.
         However, our clients informed us that they could not get these records without
         governmental assistance. We are seeking financial records from Al-Rajhi Bank,
         account Nos. 110608010425160 and 279608010024887 for the period between 1992
         and 2002. According to the Saudi Arabia law, financial institutions are
         authorized to dispose of any records that are older than 10 years and do not have
         to submit any information to their customers without the Kingdom’s direction.

                Your Excellency, we appreciate your assistance in obtaining these records
         so that we can fulfill our obligations to our client and the parties in this litigation.

                                                            Respectfully,

                                                            Omar Mohammedi

                                                            Omar T. Mohammedi, Esq.
         Cc: Frederick Goetz, Esq.



     CONFIDENTIAL                                                                       WAMY SA 1983
